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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
       v.                                  :       21 Cr. 035 (EGS)
                                           :
MICHAEL JOHN LOPATIC SR.,                  :
                                           :
                     Defendant.            :


                 STATUS REPORT REGARDING MICHAEL LOPATIC

       The United States, by and through the United States Attorney, hereby submits this status

report, pursuant to this Court’s minute order of August 31, 2022. The Government states as

follows:

       On July 3, 2022, counsel for Michael Lopatic informed the Government that Mr. Lopatic

had passed away earlier that day. The Government has since requested a copy of Mr. Lopatic’s

death certificate both from counsel and from the Pennsylvania Department of Health, but has not

yet received it. Once the Government receives the certificate, it intends to file a Motion for

Abatement of Prosecution with respect to Mr. Lopatic.



                                           Respectfully submitted,
                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052

                                           By: /s/ Benet J. Kearney
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